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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )          No. 6:22-CR-2-REW-HAI-4
 v.                                               )
                                                  )
 WHITNEY TARA ALLEN,                              )                    ORDER
                                                  )
       Defendant.                                 )
                                                  )
                                                  )
                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 110 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Whitney Tara Allen’s guilty plea and

adjudge her guilty of Count One of the Second Superseding Indictment (DE 43). See DE 111

(Recommendation); see also DE 108 (Plea Agreement). Judge Ingram expressly informed

Defendant of her right to object to the recommendation and to secure de novo review from the

undersigned. See DE 111 at 2–3. The established three-day objection deadline has passed, and no

party has objected.

       The Court is not required to “review . . . a magistrate [judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the

Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his objections

to the magistrate [judge]’s report and recommendation he has forfeited his right to raise this issue

on appeal.’”); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver and
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forfeiture); FED. R. CRIM. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection” filed);

28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation

“to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 111, ACCEPTS Allen’s guilty plea, and ADJUDGES Allen

            guilty of Count One of the Second Superseding Indictment (DE 43); and

        2. The Court will issue a separate sentencing order. 1

        This the 14th day of November, 2022.




1
 At the hearing, Judge Ingram remanded Allen to custody. See DE 110 (Minute Entry). The Court, thus,
sees no need to further address detention at this time. She shall remain in custody pending sentencing.
